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                            IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF PUERTO RICO

In re:

EDGARDO NICOLAS MARTINEZ PEREZ                             Case No. 16-05934
                                                           Chapter 13

Debtors

                          MOTION SUBMITTING AMENDED CHAPTER 13 PLAN

TO THE HONORABLE COURT:

         Comes now Debtor, represented by undersigned counsel, and very respectfully alleges and prays

as follows:

         1. On October 10, 2018, the Debtor filed an Amended Chapter 13 Plan. See, Docket No. 156.

         2. Pursuant to 11 U.S.C. § 1323, Debtor respectfully submit an amended Chapter 13 Plan in

              order to:

                 a. disclose amount of lump sum payments in section 2.4;

                 b. modify remove checkmark on “None” in section 3.1;

                 c. provide treatment to IRS (POC No. 8) and Municipio de SJ (POC No. 11) in

                     section 4.4;

                 d. include language for retention of lien in section 8.1.

         WHEREFORE, Debtor respectfully requests from this Honorable Court to take notice of the

above stated.

       NOTICE: Pursuant to Local Bankruptcy Rule 9013-1(h) within fourteen (14) days after service
as evidence by the certification, and an additional three (3) days pursuant to Feb. R. Bank. P. 9006(f) if
you were served by mail, and any party against whom this paper has been served, or any other party to the
action who objects to the relief sought herein, shall serve and file an objection or other appropriate
response to this paper with the Clerk’s office of the U.S. Bankruptcy Court for the District of Puerto Rico.
If no objection or other response is filed within the time allowed herein, the paper will be deemed
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unopposed and may be granted unless: (i) the requested relief is forbidden by law; (ii) the requested relief
is against public policy; or (iii) in the opinion of the Court, the interest of justice requires otherwise.

       CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically filed the
above document with the Clerk of the Court using the CM/ECF system, which will send notification, upon
information and belief, of such filing to the following: CHAPTER 13 TRUSTEE AND THE UNITED
STATES TRUSTEE and to all CM/ECF participants. We also certify that this same date we have mailed
by United States Postal Service the document to all creditors and parties in interest as per the attached
master address list.

       RESPECTFULLY SUBMITTED
       In San Juan, Puerto Rico this 2nd day of November, 2018.

                                                             /s/ William Rivera Vélez
                                                             William Rivera Vélez
                                                             USDC No. 229408
                                                             COSVI Office Complex
                                                             Esq. Ave. Américo Miranda 400
                                                             Edif. Original, Local B
                                                             San Juan, PR 00927
                                                             Tel. (787) 625-1948 / (787) 469-8913
                                                             Fax. 787-625-1949
                                                             E-mail: wrvlaw@gmail.com
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        ASOCIACION DE RESIDENTES COSTA DORADA
        PO BOX 485
        PALMER, PR 00721-0485


        ASOCIACION DE RESIDENTES DEL PILAR
        CALLE TETUAN 257
        SAN JUAN, PR 00901


        Banco Popular de Puerto Rico
        PO Box 71375
        San Juan, PR 00936-8475


        Banco Popular de Puerto Rico
        PO Box 366818
        San Juan, PR 00936-6818
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                                        UNITED STATES BANKRUPTCY COURT
                                               District of Puerto Rico
In Re                                                                              Case No: 3:16-bk-5934
MARTINEZ PEREZ, EDGARDO NICOLAS
                                                                                   Chapter 13

XXX-XX-6279                                                                        [X] Check if this is a pre-confirmation amended
                                                                                   plan.
XXX-XX-
                                                                                   [ ] Check if this is a post confirmation amended
                                                                                   plan
Puerto Rico Local Form G                                                              Proposed by:
                                                                                           [X] Debtor(s)
                                                                                           [ ] Trustee
Chapter 13 Plan dated           11/02/2018                                                 [ ] Unsecured creditor(s)

                                                                                   [X] If this is an amended plan, list below the
                                                                                   sections of the plan that have been changed.
                                                                                   2.4, 3.1, 4.4, 8.1


PART 1 Notices

To Debtors:          This form sets out options that may be appropriate in some cases, but the presence of an option on the
                 form does not indicate that the option is appropriate in your circumstances or that it is permissible in your
                 judicial district. Plans that do not comply with local rules and judicial rulings may not be confirmable.

                 In the following notice to creditors, you must check each box that applies.

To Creditors:    Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                 You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you
                 do not have an attorney, you may wish to consult one. The headings contained in this plan are inserted for
                 reference purposes only and shall not affect the meaning or interpretation of this plan.

                 If you oppose the plan’  s treatment of your claim or any provision of this plan, you or your attorney must file
                 an objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless
                 otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if
                 no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in
                 order to be paid under this plan, unless ordered otherwise.

                 If a claim is withdrawn by a creditor or amended to an amount less than the amount already disbursed under the
                 plan on account of such claim : (1) The trustee is authorized to discontinue any further disbursements to related
                 claim; (2) The sum allocated towards the payment of such creditor ’   s claim shall be disbursed by the trustee to
                 Debtor’  s remaining creditors. (3) If such creditor has received monies from the trustee (Disbursed Payments), the
                 creditor shall return funds received in excess of the related claim to the trustee for distribution to Debtor ’
                                                                                                                               s remaining
                 creditors. (4) If Debtor has proposed a plan that repays his or her creditors in full, funds received in excess of the
                 related claim shall be returned to the Debtor.

                 The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether
                 or not the plan includes each of the following items. If an item is checked as “
                                                                                                Not included”or if both boxes are
                 checked, the provision will be ineffective if set out later in the plan.


 1.1    A limit on the amount of a secured claim, set out in Section 3.2, which may               [ ] Included     [X] Not included
        result in a partial payment or no payment at all to the secured creditor

 1.2    Avoidance of a judicial lien or nonpossessory, nonpurchase-money security                 [ ] Included     [X] Not included
        interest, set out in Section 3.4
 1.3    Nonstandard provisions, set out in Part 8                                                 [X] Included     [ ] Not included

PART 2: Plan Payments and Length of Plan

2.1 Debtor(s) will make payments to the trustee as follows:



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PMT Amount          Period(s)       Period(s) Totals      Comments
7,450.00            1               7,450.00
50.00               1               50.00
500.00              5               2,500.00
11,604.53           1               11,604.53
500.00              3               1,500.00
1,500.00            49              73,500.00
   Subtotals        60              96,604.53
Insert additional lines if needed

    If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make
    the payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner:

    Check all that apply.
    [ ] Debtor(s) will make payments pursuant to a payroll deduction order.
    [X] Debtor(s) will make payments directly to the trustee.
    [ ] Other (specify method of payment):

2.3 Income tax refunds:

    Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
    and will comply with 11 U.S.C. § 1325(b)(2). If the Debtor(s) need(s) to use all or a portion of such “Tax Refunds,”Debtor(s) shall
    seek court authorization prior to any use thereof.

2.4 Additional payments:

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 2.4 need not be completed or reproduced.

    [X] Debtor(s) will make additional payment(s) to the trustee from other sources, as specified below. Describe the source,
        estimated amount, and date of each anticipated payment.
        Sale of the Properties identified as follows: Reparto del Pilar, San Juan, PR and Ave. Hostos #453, San Juan, PR.
             Lump sum payment of $245,929.38 within 30 months.


PART 3: Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.

    Check one.
[ ] None. If “
             None”is checked, the rest of § 3.1 need not be completed or reproduced.

[X] The Debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by
the trustee or directly by the Debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
disbursements by the trustee, with interest, if any, at the rate stated, pro-rated unless a specific amount is provided below. Unless
otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c)
control over any contrary amounts listed below as to the current installment payment and arrearage. In the absence of a contrary
timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay is ordered as to any item of
collateral listed in this paragraph, then, unless otherwise ordered by the court, all payments under this paragraph as to that collateral
will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final column includes only
payments disbursed by the trustee rather than by the Debtor(s).

                                                            See, Section 8.1

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

    Check one.

    [X] None. If “
                 None”is checked, the rest of § 3.2 need not be completed or reproduced.



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3.3 Secured claims excluded from 11 U.S.C. § 506.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Lien Avoidance.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 3.5 need not be completed or reproduced.

3.6 Pre-confirmation adequate protection monthly payments (“
                                                           APMP”) to be paid by the trustee.
    [ ] Payments pursuant to 11 USC §1326(a)(1)(C):
Name of secured creditor                $ Amount of APMP                     Comments
None
Insert additional lines as needed.

    Pre-confirmation adequate protection payments made through the plan by the trustee are subject to the corresponding statutory
    fee.

3.7 Other secured claims modifications.

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 3.7 need not be completed or reproduced.

    [X] Secured claims listed below shall be modified pursuant to 11 U.S.C. § 1322(b)(2) and/or § 1322(c)(2). Upon confirmation,
        the trustee shall pay the allowed claim as expressly modified by this section, at the annual interest rate and monthly
        payments described below. Any listed claim will be paid in full through disbursements by the trustee, with interest, if any, at
        the rate stated, pro-rated unless a specific amount is provided below. Unless otherwise ordered by the court, the amounts
        listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts
        listed below. In the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. If no monthly
        payment amount is listed below, distribution will be prorated according to plan section 7.2

Name of        Claim ID #    Claim         Modified      Modified     Modified      Property      Property      Total         Estimated
creditor                     amount        interest      term         P&I           taxes         insurance     monthly       total PMTs
                                           rate          (Months)                   (Escrow)      (Escrow)      payment       by trustee
Banco               12        53,192.05       4.25%
Santander                    [X] To be
                            paid in fill                                                                        Starting on
                            100%                                                                                Plan Month
Insert additional lines as needed.

PART 4: Treatment of Fees and Priority Claims

4.1 General

           Trustee’ s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be
           paid in full without postpetition interest.

4.2 Trustee’s fees
        Trustee’s fees are governed by statute and may vary during the term of the plan, nevertheless are estimated for confirmation
        purposes to be 10 % of all plan payments received by the trustee during the plan term.

4.3 Attorney’
            s fees

    Check one.

           [ ] Flat Fee: Attorney for Debtor(s) elect to be compensated as a flat fee for their legal services, up to the plan
           confirmation, according to LBR 2016-1(f).

    OR


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        [X] Fee Application: The attorneys’    fees amount will be determined by the court, upon the approval of a detailed
        application for fees and expenses, filed not later than 14 days from the entry of the confirmation order.

                      Attorney’  s fees paid pre-petition:                                            $ 0.00
                      Balance of attorney’   s fees to be paid under this plan are estimated to be:   $ 4,000.00
                      If this is a post-confirmation amended plan, estimated attorney ’  s fees:      $ 0.00


4.4 Priority claims other than attorney’
                                       s fees and those treated in §§ 4.5, 4.6.

    Check one.
    [ ] None. If “
                 None”is checked, the rest of § 4.4 need not be completed or reproduced.

    [X] The Trustee shall pay in full all allowed claims entitled to priority under §507, §1322(a)(2), estimated in $72,897.78
Name of priority creditor                                            Estimate amount of claim to be paid
Departamento de Hacienda                                             53,746.03
IRS                                                                  17,543.09
Municipio de SJ                                                      1,608.66


4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.5 need not be completed or reproduced.

4.6 Post confirmation property insurance coverage

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 4.6 need not be completed or reproduced.

PART 5: Treatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

    Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked,
    the option providing the largest payment will be effective.

    Check all that apply.

    [ ] The sum of $            .

    [X] 100% plus 4.25% interest of the total amount of these claims, an estimated payment of $

    [ ] The funds remaining after disbursements have been made to all other creditors provided for in this plan.

    [ ] If the estate of the Debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $
        .

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims.

    Check one.
    [X] None. If “
                 None”is checked, the rest of § 5.3 need not be completed or reproduced.

PART 6: Executory Contracts and Unexpired Leases

6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
    contracts and unexpired leases are rejected.

    Check one.



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      [X] None. If “
                   None”is checked, the rest of § 6.1 need not be completed or reproduced.

PART 7: Vesting of Property of the Estate & Plan Distribution Order

7.1 Property of the estate will vest in the Debtor(s) upon

      Check the applicable box:

      [ ] Plan confirmation.
      [X] Entry of discharge.
      [ ] Other:

7.2 Plan distribution by the trustee will be in the following order:
    (The numbers below reflect the order of distribution; the same number means prorated distribution among claims with the same
    number.)

      1. Distribution on Adequate Protection Payments (Part 3, Section 3.6)
      1. Distribution on Attorney’ s Fees (Part 4, Section 4.3)
      1. Distribution on Secured Claims (Part 3, Section 3.1) –Current contractual installment payments
      2. Distribution on Post Confirmation Property Insurance Coverage (Part 4, Section 4.6)
      2. Distribution on Secured Claims (Part 3, Section 3.7)
      2. Distribution on Secured Claims (Part 3, Section 3.1) –Arrearage payments
      3. Distribution on Secured Claims (Part 3, Section 3.2)
      3. Distribution on Secured Claims (Part 3, Section 3.3)
      3. Distribution on Secured Claims (Part 3, Section 3.4)
      3. Distribution on Unsecured Claims (Part 6, Section 6.1)
      4. Distribution on Priority Claims (Part 4, Section 4.4)
      5. Distribution on Priority Claims (Part 4, Section 4.5)
      6. Distribution on Unsecured Claims (Part 5, Section 5.2)
      6. Distribution on Unsecured Claims (Part 5, Section 5.3)
      7. Distribution on General Unsecured claims (Part 5, Section 5.1)

      Trustee’
             s fees are disbursed before each of the distributions above described pursuant to 28 U.S.C. § 586(e)(2).

PART 8: Nonstandard Plan Provisions

8.1       Check “None”or list the nonstandard plan provisions

[ ] None. If “
             None”is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

Each paragraph below must be numbered and labeled in boldface type, and with a heading stating the general subject
matter of the paragraph.

The following plan provisions will be effective only if there is a check in the box “
                                                                                    Included”in § 1.3.
8.2 This Section modifies LBF-G, Part 3, Section 3.1: Maintenance of payments and cure of default, if any:
Debtor is in the process of selling the properties located at Reparto del Pilar, San Juan, PR and Ave. Hostos #453, San Juan,
PR. Out of the proceeds of this sale, the Debtor will pay in full the secured creditors that encumber the real property.

8.3 Retention of Lien:
Secured creditors with Allowed Secured Claims Holder will retain their liens as set-forth in Section 1325(a)(5)(B)(i)(I) of the
Bankruptcy Code.

Insert additional lines as needed.

PART 9: Signature(s)


/s/ William Rivera-Velez                                                              Date November 2, 2018
Signature of attorney of Debtor(s)

/s/ EDGARDO NICOLAS MARTINEZ PEREZ                                                    Date November 2, 2018




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Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise
optional)


By filing this document, the attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also
certify(ies) that the wording and order of the provisions in this chapter 13 plan are identical to those contained in Local
Form G (LBF-G), other than any nonstandard provisions included in Part 8.




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